                                                       Case 3:25-cv-01099-GPC-KSC        Document 1-2   Filed 04/30/25   PageID.9   Page 1 of
                                                                                                25


                                                          1 Nathan Dooley (CA Bar No. 224331)
                                                            COZEN O'CONNOR
                                                          2 601 S. Figueroa Street, Suite 3700
                                                            Los Angeles, California 90017
                                                          3 Tel: 213-892-7933
                                                            Fax: 213-892-7999
                                                          4 Email:      ndooley@cozen.com
                                                          5 Attorneys for Defendant
                                                            WinCup, Inc.
                                                          6
                                                          7
                                                          8                        UNITED STATES DISTRICT COURT
                                                          9                      SOUTHERN DISTRICT OF CALIFORNIA
                                                         10
                                                            JEFFREY HEAVEY, an Individual on            Case No. '25CV1099 GPC KSC
                                                         11 behalf of himself and  all other similarly
                                                            situated and the general public,
                                                         12                                            DECLARATION OF NATHAN
                  601 S. FIGUEROA STREET, SUITE 3700




                                                                         Plaintiffs,                   DOOLEY IN SUPPORT OF NOTICE
COZEN O’ CONNOR
                        LOS ANGELES, CA 90017




                                                         13                                            OF REMOVAL
                                                                   v.
                                                         14
                                                            WINCUP, INC., a Delaware
                                                         15 Corporation, and DOES 1-100 inclusive,
                                                         16                Defendants.
                                                         17
                                                                    I, Nathan Dooley, Esq., declare as follows:
                                                         18
                                                                    1.     I am a member of the law firm of Cozen O’Connor, and I represent
                                                         19
                                                              Defendant WinCup, Inc. (“WinCup”) in this action. I make this declaration of
                                                         20
                                                              personal, firsthand knowledge, and if called and sworn as a witness, I could and
                                                         21
                                                              would testify competently thereto.
                                                         22
                                                                    2.     A true and correct copy of Plaintiff Jeffrey Heavey’s (“Heavey”)
                                                         23
                                                              Summons and Complaint in the Superior Court of the State of California, San Deigo
                                                         24
                                                              County Case No. 25CU014781C, dated March 31, 2025 is attached to the Notice of
                                                         25
                                                              Removal as Exhibit A.
                                                         26
                                                         27
                                                         28

                                                                                                        1
                                                                         DECLARATION OF NATHAN DOOLEY IN SUPPORT OF NOTICE OF REMOVAL
                                                       Case 3:25-cv-01099-GPC-KSC     Document 1-2    Filed 04/30/25   PageID.10       Page 2
                                                                                            of 25


                                                         1        3.     A true and correct copy of Heavey’s Proof of Service filed in the
                                                         2 Superior Court of the State of California, San Deigo County Case No.
                                                         3 25CU014781C, on April 3, 2025 is attached to the Notice of Removal as Exhibit B.
                                                         4        I declare under penalty of perjury under the laws of the United States of
                                                         5 America that the foregoing is true and correct.
                                                         6        Executed this 29th day of April, 2025, at Los Angeles, California.
                                                         7
                                                         8
                                                         9                                        s/Nathan Dooley
                                                        10                                           Nathan Dooley

                                                        11
                                                        12
                  601 S. FIGUEROA STREET, SUITE 3700
COZEN O’ CONNOR
                        LOS ANGELES, CA 90017




                                                        13
                                                        14
                                                        15
                                                        16
                                                        17
                                                        18
                                                        19
                                                        20
                                                        21
                                                        22
                                                        23
                                                        24
                                                        25
                                                        26
                                                        27
                                                        28

                                                                                                     2
                                                                       DECLARATION OF NATHAN DOOLEY IN SUPPORT OF NOTICE OF REMOVAL
Case 3:25-cv-01099-GPC-KSC   Document 1-2   Filed 04/30/25   PageID.11   Page 3
                                   of 25




                       EXHIBIT A
Case 3:25-cv-01099-GPC-KSC         Document 1-2    Filed 04/30/25      PageID.12           Page 4
                                         of 25

                                                                    ELECTRONICALLY FILED
                                                                    Superior Court of California,
                                                                    County of San Diego
    1 Eric K. Yaeckel[CSB No. 2746081                                   3/21/2025 11:30:53 AM
      yaeckel@sullivanlawgrottpapc.com                               Clerk of the Superior Court
    2 Ryan T. Kuhn[CSB No. 324538]                                   By C. Miranda         ,Deputy Clerk

    3 tyan@sullivanlawQroupapc.com
        SULLIVAN & YAECKEL LAW GROUP APC
    4 2330 Third Avenue
       San Diego, California 92101
    5
      (619)702-6760 *(619)702-6761 FAX
    6
      Attorneys for Plaintiff JEFFREY HEAVEY, an Individual on behalf of himself and all others
    7 similarly situated and the general public

    8

    9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

   10                                   COUNTY OF SAN DIEGO
   11 JEFFREY HEAVEY, an Individual on             CASE NO.:        25CU014781C

   12 behalf of himself and all others similarly
      situated and the general public,             (Proposed CLASS ACTION)
   13
                     Plaintiffs,                   CLASS ACTION COMPLAINT FOR:
   14
        V.,                                        1.    VIOLATION OF CALIFORNIA
   15
                                                         BUSINESS & PROFESSIONS CODE
   16   WINCUP,INC., a Delaware Corporation,             §17500,et seq., and
        and DOES 1-100, inclusive,
   17                                              2.    VIOLATION OF CALIFORNIA
                      Defendants                         BUSINESS & PROFESSIONS CODE
   18
                                                         §17.200, et seq.
   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
Case 3:25-cv-01099-GPC-KSC            Document 1-2         Filed 04/30/25       PageID.13       Page 5
                                            of 25




    I           COMES NOW Plaintiff, JEFFREY HEAVEY,("Plaintiff,") an Individual on behalf of
    2
        himself and all others similarly situated and the general public, and hereby alleges as follows:
    3
                Plaintiff brings this action on behalf of himself, and all others similarly situated, against
    4
        Defendants, WINCUP,INC.(hereinafter, "Defendants," or "WINCUP"). The allegations in this
    5

    6   Complaint, stated on information and belief, have evidentiary support, or are likely to have

    7   evidentiary support after a reasonable opportunity for further investigation and discovery.
    8           Specifically,this action involves"Greenwashing," wherein Defendants falsely advertise their
    9
        expanded polystyrene(EPS)foam products as "Recyclable," a term defined under California law.
   10
        Defendants' advertisements are false, deceptive and/or misleading, as EPS foam products are not
   11

   12   presently recyclable, and were not recyclable at any time within the operative Limitations Period.

   13   Notably, EPS foam products are not legally allowed to be sold in the State of California. Given the

   14 false, deceptive and/or misleading advertising constituting unlawful, unfair and/or fraudulent

   15
        business acts or practices, and the resultant damage, Defendants' are liable as set forth below.
   16
                                           NATURE OF THE ACTION
   17
                1.      Plaintifffiles this class action lawsuit on behalfof himselfand all similarly situated
   18

   19   California citizens who purchased EPS foam products manufactured, distributed, marketed and/or

   20   sold by WINCUP,in the State of California, within the operative Limitations Period. The proposed
   21
        Class does not, and will not, include any individual who is not a citizen of, or a purchase made
   22
        outside of, the State of California.
   23
               2.      This matter involves false,deceptive and/or misleading representations, by WINCUP,
   24

   25   that its EPS foam products are "recyclable."

   26          3.      The WINCUP representations that its EPS foam products are "recyclable" are false,
   27   deceptive and/or misleading, pursuant to the plain and common definitions ofthe terms.
   28
Case 3:25-cv-01099-GPC-KSC           Document 1-2         Filed 04/30/25     PageID.14       Page 6
                                           of 25




    I          4.      Plaintiff viewed the subject mis-representations prior to his purchase of said
    2
        products, and relied on said mis-representations when purchasing said products.
    3
               5.      WINCUP is, or reasonably should be, aware that its statements are false, deceptive
    4
        and/or misleading, as its EPS foam products do not meet the criteria for statewide recyclability.
    5

    6   WINCUP is aware that these recyclability claims, as used by WINCUP,are and were false and/or

    7   misleading when first disseminated by WINCUP.
    8                                            THE PARTIES
    9
               6.      Plaintiff is a citizen of the State of California, and has purchased Defendants'
   10
        products in the County of San Diego regularly, based on his reliance (prior to purchase) of
   11

   12   Defendant's false, deceptive and/or misleading representations, and thereby adversely altered his

   13   position in an amount equal to the amount he paid for the Defendants' products. Plaintiff and the

   14   Proposed Class would not have purchased or paid a premium for the WINCUP products had they
   15
        known that the recycling representations were false, deceptive and/or misleading.
   16
               7.      Defendant WINCUP is registered with the California Secretary of State as a
   17
        Delaware corporation. Its Headquarters,and designated "principal place ofbusiness," is in the State
   18

   19   of Georgia.

   20          8.      The true names and capacities, whether individual,corporate, associate or otherwise
   21
        of each of the Defendants designated herein as a DOE are unknown to Plaintiff at this time, who
   22
        therefore sue said Defendants by fictitious names,and will ask leave ofthis Court for permission to
   23
        amend this Complaint to show their names and capacities when the same have been ascertained.
   24

   25   Plaintiff is informed and believes and thereon alleges that each of the Defendants designated as a

   26   DOE is legally responsible in some manner for the events and happenings herein referred to, and

   27   caused injuries and damages, as alleged herein.
  28


                                                       -2-
Case 3:25-cv-01099-GPC-KSC            Document 1-2        Filed 04/30/25       PageID.15       Page 7
                                            of 25




    I           9.     On information and belief, Plaintiff alleges that at all times herein mentioned, each
    2
        of the Defendants was acting as the agent, servant or employee of the other Defendants and that
    3
        during the times and places ofthe incidentin question, Defendants and each oftheir agents,servants,
    4
        and employees became liable to Plaintiff and class members for the reasons described in the
    5

    6   complaint herein, and thereby proximately caused Plaintiffto sustain damages as set forth herein.

    7           10.     On information and belief, Plaintiff alleges that Defendants carried out a joint
    8   scheme with a common business plan and policies in all respects pertinent hereto and that all acts
    9
        and omissions herein complained of were performed in knowing cooperation with each other.
   10
                11.    On information and belief, Plaintiffalleges that the shareholders, executive officers,
   11

   12   managers, and supervisors of Defendants directed, authorized, ratified and/or participated in the

   13   actions, omissions and other conduct that gives rise to the claims asserted herein. Defendants'

   14   officers, directors, and high-level employees caused WINCUP products to be sold with knowledge
   15
        or reckless disregard that the statements and representations concerning the W1NCUP products were
   16
        false, deceptive and/or misleading. Plaintiff is informed and believes, and thereon alleges, that the
   17
        Defendants are in some manner intentionally, negligently, or otherwise responsible for the acts,
   18

   19   omissions, occurrences, and transactions alleged herein. Given the above, Defendants' advertising

   20 constitutes unlawful, unfair and/or fraudulent business acts or practices, and Defendants' are liable

   21
        as set forth below.
   22
                                         JURISDICTION AND VENUE
   23
                12.    This Court has jurisdiction over this matter in that all parties and proposed Class
   24

   25   Members are citizens of, or do business and have Headquarters within, the State of California and

   26   the amount in controversy exceeds the statutory minimum limit ofthis Court.The monetary damages

   27   and restitution sought by Plaintiff exceed the minimal jurisdiction limits ofthe Superior Court and
   28


                                                        -3-
Case 3:25-cv-01099-GPC-KSC            Document 1-2         Filed 04/30/25       PageID.16       Page 8
                                            of 25




    I   will be established according to proof at trial. Furthermore, there is no federal question at issue as
    2
        the operative allegations all solely involve state (and not federal) law.
    3
                13.    Plaintiffis a citizen ofthe State of California and subject to the personal jurisdiction
    4
        ofthis Superior Court. Further, Plaintiff purchased the majority ofthe WINCUP goods within San
    5

    6   Diego County. Defendants' conduct business in San Diego County, California and otherwise

    7   intentionally avail themselves of the markets in San Diego County, therefore the exercise of

    8 jurisdiction by this Court is proper.

    9
                                          FACTUAL BACKGROUND
   10
                14.    Plaintiffhas purchased WINCUP'S EPS foam goods/products(including cups,bowls,
   11

   12   lids) regularly, based on his reliance (prior to purchase)ofsaid false, deceptive and/or misleading

   13   representations,and thereby adversely altered his position in an amount equal to the amount he paid

   14   for the Defendants' goods/products. Select receipts ofsaid purchases are attached hereto, as Exhibit
   15
        A.
   16
                15.    As more specifically set forth below, WINCUP recycling claims are widely
   17
        disseminated on the WINCUP packaging/labeling, and through other written publications.
   18
   19           16.    At all relevant times,Plaintiff believed that he was purchasing WINCUP goods that

   20   were made of recyclable materials, based on his prior reliance on Defendants' representations.
   21
        Plaintiff would not have continued to purchase the products, or would have purchased them but at
   22
        a lesser price, absent the misleading statements and misrepresentations made by WINCUP. Please
   23
        see specific examples of Defendants' false, untrue and misleading representations, below.
   24

   25                                         'The Recycling Claims

   26          17.     Defendants advertise that many of its products are "Recyclable," by and through a
   27   variety of ways, including the use of the "chasing arrows" symbol on its labeling/packaging. For
   28
        example, many of Defendants' EPS foam products are packaged in a cardboard box, which contain

                                                         -4-
Case 3:25-cv-01099-GPC-KSC             Document 1-2        Filed 04/30/25       PageID.17       Page 9
                                             of 25




     1   a "chasing arrows" symbol, the text "contents recyclable" and the text "recyclable". Plaintiff's

    2    purchases from Defendants(including Defendants' cups, bowls,and lids)contained these "chasing
    3
         arrows" symbols and "contents recyclable" text.
    4
                 18.    The"chasing arrows"symbol(first introduced in 1970)is statutorily defined to mean
    5
         than an item is recyclable. Under California law,an item may not be labeled "recyclable" unless 60
    6

    7    percent of consumers or communities have access to recycling facilities that will actually recycle,

    8    not simply accept and ultimately discard, the product. EPS foam does not currently meet this
    9    threshold, and has not met the threshold at any time within the operative Limitations Period.
   10
                 19.    EPS foam is a type of plastic made of the #6 resin polystyrene. EPS foam is
   11
         lightweight,crumbles easily, and quickly spreads in the environment. EPS foam is one ofthe most
   12

   13    common forms of plastic that pollutes California waterways and beaches.

   14           20.     It is not economically viable to recycle EPS foam. The recycling service providers

   15    do not accept or sort EPS foam, or have the markets to sell them, which precludes the recycling
   16
         options. Further, EPS foam products often contain food or beverage residue, rendering them
   17
         contaminated,and thus destined for landfill. Additionally,EPS foam products are not legally allowed
   18
         to be sold in the State of California. Finally, there are no recycling facilities in California which
   19

   20    actually recycle EPS foam.

   21           21.     EPS foam does not currently meet, and has never met, California's recyclability
   22    requirements.Pursuant to California law,"(a)productor package shall not be marketed as recyclable
   23
         unless it can be collected, separated, or otherwise recovered from the waste stream through an
   24
         established recycling program for reuse or use in manufacturing or assembling another item." In
   25

   26    order to make a recyclable claim, 60 percent of consumers or communities must have access to

   27 facilities that will actually recycle the product. However,there are no facilities in California, which

   28    can, or do, actually recycle EPS foam. As a result,0% of California households have access to an
Case 3:25-cv-01099-GPC-KSC            Document 1-2        Filed 04/30/25        PageID.18     Page 10
                                            of 25




     1   established recycling program which can recycle EPS foam. Pursuant to California Law,even if an

    2    item is technically capable of being recycled, but is highly unlikely to be recycled, the recyclable
     3
         claim is deceptive, since it asserts an environmental benefit where no benefit exists.
    4
                 22.    WINCUP has known,or reasonably should have known,that its EPS foam products
    5
         are not, and never have been, recyclable. Yet WINCUP falsely claims that their EPS foam products
    6

    7 are recyclable. Further, WINCUP engages in marketing campaigns designed to encourage the

    8    consumption of WINCUP's EPS foam products, by falsely reassuring consumers that recycling is
    9    an effective solution. This isfalse,deceptive and/or misleading,because(in part)EPS foam products
    10
         are not potentially recyclable,and are not actually recycled in California. Damage has resulted from
    11
         the continued dissemination of WINCUP's false representations. For example, out of240 Smart &
    12

    13   Final stores in the State of California, 192 stores currently sell WINCUP foam products. As of

    14   January 1, 2025 producers of EPS foam are required to demonstrate a recycling rate of no less that

    15   25% or the sale of EPS is prohibited pursuant to California Public Resources Code § 42057.
    16
         WINCUP has not demonstrated a recycling rate ofno less that 25% ofEPS foam,therefore the sale
    17
         of their EPS foam products is prohibited in the State of California.
    18
                23.     The "recycling" representations (including the use ofthe "chasing arrows" symbol
    19

   20    on WINCUP's EPS foam products are false, deceptive and/or misleading. WINCUP's recyclability

   21    representations indicate to consumers that their EPS foam products are recyclable, via the use ofthe
   22
         "chasing arrows" symbol, and the text "Contents Recyclable" placed directly on the product
   23
         packaging. California law requires that, in order for an item to be recyclable, there must be an
   24
         established recycling program that will actually recycle the item, there must be market demand for
   25

   26    the item,and the item must maintain value. Defendants' representations are false, deceptive and/or

   27    misleading, as there is no current established recycling program for reuse or use in manufacturing,
   28    or assembling another item. There are no EPS foam processing or recycling facilities in the State

                                                         -6-
Case 3:25-cv-01099-GPC-KSC             Document 1-2        Filed 04/30/25       PageID.19       Page 11
                                             of 25



     1   ofCalifornia. There is no current market value for recycled EPS foam. Further,the sale ofEPS foam

    2    is prohibited in the State of California as EPS foam is not recycled at a rate above 25%.
     3
                 24.     Given the above, WINCUP's EPS foam products are either sent to a landfill or
    4
         dumped into California's landscapes and waterways. In 2022 alone, it is estimated that between
    5
         121,324 and 179,756 tons of plastic waste were dumped on California lands. Plastic waste that is
    6

    7    dumped at landfills contributes to plastic pollution of the environment. As plastic waste degrades

    8    in landfills, microplastics are released into the surrounding environment, including the air, soil,

    9    groundwater, and surface water. Thus, the W1NCUP representations are false, deceptive and/or
    10
         misleading.
    11
                                PRIVATE ATTORNEYS GENERAL ALLEGATIONS
    12

    13           25.     Plaintiff asserts claims on behalf of class members pursuant to California Business

    14 & Professions Code § 17200, et seq. The purpose of such claims is to obtain injunctive orders

    15   regarding the false labeling, deceptive marketing and consistent pattern and practice of falsely
    16
         promoting natural claims,and the disgorgement ofall profits and/or restoration ofmonies wrongfully
    17
         obtained through the Defendants' pattern ofunfair and deceptive business practices as alleged herein.
    18
         This private attorneys general action is necessary and appropriate because Defendants have engaged
    19

   20    in wrongful acts described herein as part ofthe regular practice of its business.

   21                                   CLASS ACTION ALLEGATIONS
   22
                26.      Plaintiffbrings this class action lawsuit on behalfofhimselfand all similarly situated
   23
         California citizens who purchased EPS foam products manufactured, distributed, marketed and/or
   24
         sold by WINCUP,in the State ofCalifornia, within the operative Limitations Period. The proposed
   25

   26    Class does not, and will not, include any individual who is not a citizen of, or a purchase made

   27    outside of, the State of California.

   28


                                                          -7,
Case 3:25-cv-01099-GPC-KSC             Document 1-2         Filed 04/30/25       PageID.20        Page 12
                                             of 25




     1          27.       Plaintiffseeks to represent a Class(or Classes) to be specifically identified within a

    2 future Motion for Class Certification. Excluded from the Class will be WINCUP, as well as its

    3
         officers, employees, agents or affiliates, and any judge who presides over this action, as well as all
    4
         past and present employees,officers and directors of WINCUP.Plaintiffreserves the right to expand,
    5
         limit, modify, or amend his class definition, including the addition of one or more subclasses, in
    6

    7    connection with his motion for class certification, or at any other time, based upon, inter alia,

    8 changing circumstances and/or new facts obtained during discovery.
    9           28.       The Class is made up oftens(ifnot hundreds)ofthousands ofCalifornia citizens who
    10
         purchased the WINCUP products in the State of California, the joinder of whom is impracticable,
    11
         and the disposition oftheir claims in a Class Action will benefit the parties and the Court. The Class
    12

    13   is sufficiently numerous because, based on information and belief, thousands to hundreds of

    14 thousands of units ofthe WINCUP products have been sold in the State of California,to California

    15   citizens, within the operative Limitations Period.
    16
                29.       There is a well-defined community ofinterest in this litigation and the Class is easily
    17
         ascertainable:
    18
                          a. NumeroSity: The members of the Classes are so numerous that any form of
    19

    20                    joinder of all members would be unfeasible and impractical. On information and

   21                     belief, Plaintiff believes the size of the Classes exceeds One Hundred Thousand
   22
                       (100,000) members.
   23
                          b. Typicality: Plaintiff is qualified to and will fairly and adequately protect the
   24
                          interests ofeach member ofthe Classes with whom he has a well-defined community
   25

   26                     of interest and the claims (or defenses, if any), are typical of all members of the

   27                     Classes.

   28                     c. Adequacy: Plaintiff does not have a conflict with the Classes and is qualified to

                                                           -8-
Case 3:25-cv-01099-GPC-KSC              Document 1-2       Filed 04/30/25       PageID.21       Page 13
                                              of 25




     1                    and will fairly and adequately protect the interests of each member of the Classes

    2                     with whom she has a well- defined community of interest and typicality of claims.
     3
                          Plaintiff acknowledges that he. has an obligation to the Court to make known any
    4
                          relationship, conflict, or difference with any putative class member. Plaintiff's
     5
                          attorneys and proposed class counsel are well versed in the rules governing class
    6

    7                     action and complex litigation regarding discovery, certification, and settlement, and

    8                     have been previously designated; by California state courts, as "Class Counsel" on
    9                     at least 50 prior occasions.
    10
                          d. Superiority: The nature of this action makes the use ofclass action adjudication
    11
                          superior to other methods. Class action will achieve economies of time, effort, and
    12
    13                    expense as compared with separate lawsuits, and will avoid inconsistent outcomes

    14                    because the same issues can be adjudicated in the same manner and at the same time

    15                    for the entire class.
    16
                30.       Common questions oflaw and fact exist, that predominate over questions that may
    17
         affect individual class members. Common questions oflaw and fact include, but are not limited to,
    18
         the following:
    19

   20                     a.      Whether Defendants' conduct is a fraudulent business act or practice within

   21                             the meaning of Business and Professions Code section 17200, et seq.;
   22
                          b.      Whether Defendants_' advertising is untrue or misleading within the meaning
   23
                                  of Business and Professions Code section 17500, et seq.;
   24
                          c.      Whether Defendants made false, deceptive, and/or                 misleading
   25

   26                             representations in the advertising and/or packaging ofthe WINCUP Products;

   27                     d.      Whether Defendants knew or should have known that the recyclability claims
   28                            and representations were false, deceptive and/or misleading;

                                                          -9-
Case 3:25-cv-01099-GPC-KSC            Document 1-2        Filed 04/30/25       PageID.22        Page 14
                                            of 25




     1                  e.      Whether Defendants represented that the WINCUP Products have

    2                           characteristics, benefits, uses, or quantities which they do not have;
    3
                        f.      Whether Defendants' representations regarding the WINCUP Products are
    4
                                false, deceptive and/or misleading;
    5
                        g.      Whether the Defendants breached warranties regarding the WINCUP
    6

    7                           Products;

     8                  h.      Whether the Defendants committed statutory and common law fraud; and
    9                   i.      Whether Defendants' conduct as alleged herein constitutes an unlawful,
    10
                                and/or fraudulent business act or practice within the meaning ofBusiness and
    11
                                Professions Code section 17200, et seq.
    12

    13          31.     Plaintiff's claims are typical of the claims ofthe Class, and Plaintiff will fairly and

    14   adequately represent and protect the interests of the Class. Plaintiff has retained competent and

    15   experienced counsel in class action and other complex litigation.
    16
                32.     Plaintiff and the Class have suffered injury in fact, and have lost money, as a result
    17
         ofDefendant's misrepresentations. Plaintiff purchased the WINCUP products with the prior belief
    18
         that they were manufactured with recyclable materials. Plaintiff relied on Defendants' labeling and
    19

    20   marketing and would not have purchased the WINCUP Products or paid a premium for them if he

   21    had known that they did not have the characteristics, benefits, or qualities as represented vis-à-vis
   22
         the claims.
   23
                33.     The Defendants' misrepresentations regarding the Claims were material insofar as
   24
         consumers relate to recyclable and sustainability policies, and tend to be willing to pay a price
   25

   26    premium for beverages that employ such policies and/or practices. Defendants are aware of

   27    consumer preference for such products, and have implemented a strategic false and/or misleading

   28


                                                         -10-
Case 3:25-cv-01099-GPC-KSC            Document 1-2         Filed 04/30/25        PageID.23       Page 15
                                            of 25



     1   advertising and marketing campaign,intended to deceive consumers into thinking that the WINCUP

     2   employs such policies and practices.
     3
                 34.     A class action is superior to other available methodsfor fair and efficient adjudication
    4
         ofthis controversy. The expense and burden ofindividual litigation would make it impracticable or
     5
         impossible for class members to prosecute their claims individually.
    6

     7           35.    The trial and litigation of Plaintiff's claims are manageable. Individual litigation of

     8   the legal and factual issues raised by Defendants' conduct would increase delay and expense to all
    9    parties and the court system. The class action device presents far fewer management difficulties and
    10
         provides the benefits of a single, uniform adjudication, economies of scale, and comprehensive
    11
         supervision by a single court.
    12

    13          36.     Defendants have acted on grounds generally applicable to the Class as a whole,

    14   thereby making final injunctive relief and/or corresponding declaratory relief appropriate with

    15   respect to the Class as a whole. The prosecution of separate actions by individual class members
    16
         would create the risk ofinconsistent or varying adjudications with respect to individual members of
    17
         the Class that would establish incompatible standards of conduct for the Defendants.
    18
                37.     Absent a class action, Defendants are likely to retain the benefits of its wrongdoing.
    19

   20    Because ofthe small size ofthe individual class members' claims,few,ifany,class members could

   21    afford to seek legal redress for the wrongs complained ofherein. Absent a representative action, the
   22
         class members will continue to suffer losses and Defendants will be allowed to continue these
   23
         violations oflaw and to retain the proceeds of its ill-gotten gains.
   24
                38.     Were it not for this class action, most class members would find the cost associated
   25

   26    with litigating claims extremely prohibitive, which would result in no remedy.

   27

   28 ////


                                                          -11-
Case 3:25-cv-01099-GPC-KSC            Document 1-2         Filed 04/30/25      PageID.24        Page 16
                                            of 25



     I           39.     This class action would serve to preserve judicial resources, the respective parties'

     2   resources, and present fewer issues with the overall management ofclaims, while at the same time
     3
         ensuring a consistent result as to each class member.
    4
                                            FIRST CAUSE OF ACTION
     5                 Violations of California Business & Professions Code §§17500, et seq.
                              by Plaintiff and the Proposed Class against Defendants
    6

    7           40.      Plaintiff hereby incorporates by reference the allegations contained in all preceding

     8   paragraphs of this complaint.
    9           41.      Pursuant to California law, it is "unlawful for any person to make or disseminate or
    10
         cause to be made or disseminated before the public in this state, ... in any advertising device ... or
    11
         in any other manner or means whatever, including over the Internet, any statement, concerning ...
    12

    13   personal property or services,professional or otherwise,or performance or disposition thereof, which

    14   is untrue or misleading and which is known,or which by the exercise of reasonable care should be

    15   known,to be untrue or misleading."
    16
                42.      Defendants committed acts of untrue and/or misleading advertising by making the
    17
         Claims regarding the WINCUP products, as those claims are untrue and/or misleading.
    18
                43.      Because Defendants have been made aware ofthe lack of recyclability aspect to its
    19

   20    product packaging/labeling, Defendants knew or should have known through the exercise of

   21    reasonable care, that the WINCUP claims were untrue and/or misleading to Plaintiff and the class
   22
         members.
   23
                44.      Defendants' actions in violation of§ 17500 were untrue and/or misleading such that
   24
         the Plaintiff, the Proposed Class and the general public are and were likely to be deceived by the
   25

   26    untrue and/or misleading statements.

   27

   28


                                                         -12-
Case 3:25-cv-01099-GPC-KSC            Document 1-2         Filed 04/30/25       PageID.25       Page 17
                                            of 25



     1           45.     Plaintiff and the Proposed Class Members lost money or property as a result of

    2    Defendants' false advertising violations,because they would not have purchased, or would not have
    3
         paid a premium,for the W1NCUP Products if they had not been deceived by the Claims.
    4
                                        SECOND CAUSE OF ACTION
    5                   For Violation Cal. Bus.& Prof. Code § 17200,et seq. by Plaintiff
                                    and Proposed Class against Defendants
    6

    7            46.     Plaintiff hereby incorporates by reference the allegations contained in all preceding

    8    paragraphs of this complaint.
    9            47.     Plaintiff is a direct victim of Defendants' illegal and/or unfair business acts and
    10
         practices referenced in this complaint, has lost money as a result ofsuch practices, and brings this
    11
         action both in his individual capacity and on behalf of California citizen consumers who share a
    12

    13   common or general interest in the damages as a result ofthe illegal and/or unfair practices.

    14           48.     The approximately 100,000 member class is ascertainable via their experience as

    15   California citizens who purchased WINCUP products within the State of California at some point
    16
         within the operative Limitations Period. Class members share a community ofinterest and an injury-
    17
         in-fact as Defendants have violated California laws, thereby depriving class members of money
    18
         earned. Based on the facts set forth above,it would be impracticable to proceed in individual actions.
    19

   20           49.     Plaintiff suffered an injury-in-fact pursuant to Business & Professions Code section

   21    17204, and lost money as a result of Defendants' illegal and/or unfair, deceptive, untrue and/or
   22
         misleading practices.
   23
                 50.    Plaintiffbrings this action on behalfofan ascertainable class who share a community
   24
         of interest pursuant to Business & Professions Code section 17203 and Code of Civil Procedure
   25

   26    section 382 and who share a common or general interest in the damages as a result of the illegal

   27    and/or unfair practices, in that those individuals on whose behalfthe action is brought have also lost
   28


                                                         -13-
Case 3:25-cv-01099-GPC-KSC             Document 1-2         Filed 04/30/25       PageID.26        Page 18
                                             of 25




     1   money as a result of Defendants' practices, as set forth above,and that it would be impracticable to

    2    proceed as an individual plaintiff action.
     3
                 51.      Business & Professions Code section 17200 et seq. prohibits any unlawful, unfair,
    4
         or fraudulent business act or practice.
    5
                 52.      Plaintiff's allegations herein are based upon Defendants' institutional business acts
    6
    7    and practices.

    8            53.      Defendants' acts and practices, as described herein above,are unlawful and/or unfair
    9 and/or fraudulent, in that(among other facts) they violate California law and are unfair, deceptive,
    10
         untrue and/or misleading.
    11
                 54.      As a direct result of Defendants' unlawful and unfair business acts and practices,
    12
    13   Plaintiff and all other class members have been damaged in an amount to be proven. Accordingly,

    14 Plaintiff prays for restitution and injunctive damages in an amount to be proven.
    15           55.      Plaintiffis informed and believes,and on that basis alleges,that Defendants' business
    16
         practices, alleged above, are continuing in nature and are widespread.
    17
                 56.      On behalf of the ascertainable class, Plaintiff respectfully requests an injunction
    18
         against Defendants to enjoin them from continuing to engage in the illegal conduct alleged herein.
    19
   20    On behalf ofthe ascertainable class, Plaintiffrespectfully requests restitution damages. Separately,

   21    Plaintiff has incurred and continues to incur legal expenses and attorneys'fees. Plaintiffis presently
   22
         unaware ofthe precise amount ofthese expenses and fees, and prays for leave ofcourt to amend this
   23
         complaint when the amounts are more fully known. Finally, Plaintiff also seeks an order requiring
   24
         Defendants to correct, destroy and/or change all false and/or misleading labeling and website terms
   25
   26    relating to the Claims at issue. Plaintiff will pray for leave to amend this complaint when the specific

   27    products and mis-representations are particularized following discovery.
   28 ////


                                                          -14-
Case 3:25-cv-01099-GPC-KSC          Document 1-2         Filed 04/30/25       PageID.27       Page 19
                                          of 25



     1                                      PRAYER FOR RELIEF

    2           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
     3
         judgment against Defendants, as follows:
    4
                a.     For an order certifying the Class;
     5
                b.     For an order certifying Plaintiff as the representative of the Class and Plaintiffs
    6

    7                  attorneys as Class Counsel;

    8           c.     For an order declaring the Defendants' conduct violates the statutes and laws
    9                  referenced herein;
    10
                d.     For an order to correct, destroy, and change all false, deceptive, untrue, unlawful
    11
                       and/or misleading labeling relating to the Claims;
    12

    13          e.     For an order finding in favor of Plaintiff, the Class on all counts asserted herein;

    14          f.     For prejudgment interest on all amounts awarded;

    15                 For an order of restitution, disgorgement of profits, and all other forms ofequitable
                g.
    16
                       monetary relief;
    17
                h.     For injunctive relief as plead or as the Court may deem proper; and
    18
                i.     For an order awarding Plaintiff, and the Class, their reasonable attorneys' fees and
    19

   20                  expenses and costs of suit.

   21

   22    Dated: March 21, 2025                        SULLIVAN & YAECKEL LAW GROUP,APC
   23

   24                                                Ryan T.
   25                                                Eric K.
                                                     Attorneys r Plaintiff JEFFREY HEAVEY, an
   26                                                Individual on behalfofhimselfand all others similarly
                                                     situated, and the general public
   27

   28


                                                       -15-
Case 3:25-cv-01099-GPC-KSC   Document 1-2   Filed 04/30/25   PageID.28   Page 20
                                   of 25
Case 3:25-cv-01099-GPC-KSC            Document 1-2                         Filed 04/30/25   PageID.29   Page 21
                                            of 25


                                          Smart&Final,


                           prt,o,,,e,,  1k/I 10r ,ryt
                           SU:1 fiat roat 0! win', A
                           pi uf,, Otiloom,     .     fu

                               Ro$3,11er Nfc
                                           !   wet, d 44
                                                                     e.ee r
                           0,oPs  ,
                          cfatn ti vani:            2 94 in.0.4. 611‘
                          I dmaeum,,,
                          .
                                          Pkti                 3
                                                              .4 4v          r
                             n ue,                               we          r
                                        prItm SG 9Q
                        troof vq-f•41,70
                        l'is vt 5I: eet WI I d Cautin        19.uo           r
                        WIWI/ell/00M
                        First Street Heavy Whit
                                              !).                     Al
                        First Street Tradition
                        Beigioso Aslago Wedge
                        WorY/Breadi1ortll109
                        FS 24ct Asst Mini Danis                    11.29 F
                       First Street Hint Butte                      9.99 F             ,
                          Regular Aloe $10.99
                       Frozen bog
                       First Street Peas                            3.99 f
                       First Street Cut Corn                        3.99 F
                       grocery
                       First Street Chicken Br
                       Barilla Elbows
                       Berilla Elbows
                       Stacys Parmesan Barite
                          Regular Price $4.19.,
                        Sun Chios Carden Salsa.‘
                                              :
                        Non-Foods
                        First Street 12 oz Blac                     8.49 T
                        WinOup 16 oz Foam                          36.99
                        Simply Value Towels                         1.29 T
                        General
                        Basket Verify                               0.00
                        SUBTOTAL                                   148.87
                                     Total 0 Items Sold 23



                       TOTAL                                       149.73
                       Visa                                         149.73
                         PURCHASE $149.73
                         CHIP CONTACTLESS
                         REF#: 587500 APPROVED
                         VISA CREDIT
                         AROC - 87F10A24052601EE
                         Mode; Issuer
                         TAD:
                         1F420132A00000000010030273000000004000
                         000000000000000000000000
                                                         --`


                      Total Sayed                   $4.30
                      Item Savings                   4.30




                                    0010347150325004000239
                        1111111111111111111111111111111111j111011111111111111111111
                                                 '• '
                     you were servo, hy:,Kerpralt,Ny             irtn.
                                                                 "
                                                                          .070,-`a
                                                                                 .•
                                                                                -A,
                     Date-      •Time," Steike ret,i.IMON.itimA
                     o3/1s/25o2;33 pm 34. ,-plApoe 239,
                           Thank you for shoopinil with u-i

                                Complete our survey and
                            enter for a chance to win a
                            $500 SMART R FINAL GIFT CARD
                         Visit www.sMartandtinal .com/eurvey
                             within 7 days ot this shop
                                   Now Hiring!
                       Visit www,emartendfinai .com/cereera
Frozen Fooq
  Case 3:25-cv-01099-GPC-KSC   Document 1-2
                                     of 25
                                                           -
                                              Filed 04/30/25   PageID.30   Page 22



Fr st S t r e e t P e a s
First S t r e e t C u t  Co r n

  kocerY               C h i ck e n  B r
' First St    r e e t
  Barilla Elbows
   W illa Elbows arlic
   Stao y s  P a r m e s a n  G
      Re g ul ar   P r i c e  $ 4 1 9
    Sun Chip    s   G ar d e n  S al sa

      Non-Foods                  Bi n
      First St  r ee t  1 2  o z
      W inCup 16 oz Foam ls
      Simp l y V al u e T o w e

       General
       Basket Verify
       SUBTOTAL
Case 3:25-cv-01099-GPC-KSC   Document 1-2   Filed 04/30/25   PageID.31   Page 23
                                   of 25




                        EXHIBIT B
Case 3:25-cv-01099-GPC-KSC                      Document 1-2                  Filed 04/30/25      PageID.32 Page 24
                                                      of 25                                                  CT Corporation
                                                                                              Service of Process Notification
                                                                                                                      04/03/2025
                                                                                                         CT Log Number 548797393


    Service of Process Transmittal Summary

    TO:       VICKI O'ROURKE, Corporate Counsel
              WinCup, Inc.
              55 ALLEN PLAZA, SUITE 900, 55 IVAN ALLEN JR. BLVD, NE
              ATLANTA, GA 30308

    RE:       Process Served in California

    FOR:      WINCUP, INC. (Domestic State: DE)


    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                         Re: JEFFREY HEAVEY, an Individual on behalf of himself and all others similarly situated
                                             and the general public // To: WINCUP, INC.
    CASE #:                                  25CU014781C

    NATURE OF ACTION:                        Code Violation / Code Enforcement

    PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

    DATE/METHOD OF SERVICE:                  By Process Server on 04/03/2025 at 07:22

    JURISDICTION SERVED:                     California

    ACTION ITEMS:                            CT will retain the current log

                                             Image SOP

                                             Email Notification, VICKI O'ROURKE vickiorourke@wincup.com

    REGISTERED AGENT CONTACT:                C T Corporation System
                                             330 N BRAND BLVD
                                             STE 700
                                             GLENDALE, CA 91203
                                             866-539-8692
                                             CorporationTeam@wolterskluwer.com



    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
    and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
    information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
    included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
    disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
    contained therein.




                                                                                                                           Page 1 of 1
   Case 3:25-cv-01099-GPC-KSC   Document 1-2     Filed 04/30/25   PageID.33   Page 25
                                      of 25


                                                             0® Wolters Kluwer
                  PROCESS SERVER DELIVERY DETAILS



Date:                                 Thu, Apr 3, 2025
Server Name:                          Erik Luna




 Entity Served           WINCUP,INC

 Case Number             25CU014781C
 Jurisdiction            CA



                                       Inserts
